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 AO 91 (Rev. 02i09) Criminal Complaint




               Umfltedl States Dflstr
                                                                 forthe
                                                     'Westem
                                                               District of New Y


                            United States of America

                                                                                   CaseNo. te-MJ-
                                            v.                                                                VOtY
                             GABRIEL MURILLO
                                         Defendant




                                                      CRIMINAL COMPLAINT


Homeland Securitv Investigations. the complainant in this case, state that the following is ffue to the best of my
knowledge and belief:


     Between in or about April 8. 2018 and February 16, 2019, in the Western District of New York, the defendant,
GABRIEL MURILLO, violated Title 18 U.S.C. 52422(b), an offense described as follows:

         the defendant knowingly, using afacility or means of interstate and foreign commerce, attempted to
         persuade, induce, entice and coerce an individual who had not attainedthe age of 18 years, to engage
         in sexual activity for which any person can be chargedwith a criminal offense, in violation of Title 18,
         United States Code, Section 2422@).


SEE   ATTACHED AFFIDAVIT OF KATHRYN M. GAMBLE, SPECIAL AGENT, H.S.I.

         This Criminal Complaint is based on these facts:


         tr   Continued on the attachedsheet.




                                                                       KATHRYN M. GAMBLE. S.A., H.S.I.
                                                                                      printed name and title
Sworn to before me and signed in my presence.

Date: Fehtary        l'l   .2019                                       (haia+,rrtqnu-
                                                                                          ludge's signature


                                                                       HON. MARIAN W. PAYSON
City and State: Rochester, New york                                    UNITED STATES MAGISTRATE JUDGE
                                                                                      Printed name and title
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                                                                               / /-n/-/a/3
               AFFIDA\4T IN SUPPORT OF A CRIMINAL COMPLAINT
 STATE OF NEW YORK              )
 couNTY oF MONROE               )        SS:
 CITY OF ROCHESTER )


         I, Kathryn M. Gamble, being duly swom, depose and state the following:


         1.     I am a Special Agent with the Department of Homeland         Security, Homeland

 Security Investigations   ("HSI"). I have      been employed as a Special Agent since June Z0OB.

 As part of my daily duties as a Special Agent with HSI, I investigate crimes involving child

 exploitation and child pomography, including violations pertaining to ttre ffansportation,

 production, distribution, receipt, and possession of child pornography, in violation of Title

 18, United States Code, Sections 2252 and 2252A.             I also investigate crimes involving
coercion and enticement of minors in violation of Title 18, United States Code Section 2422.

I   have received formal and on the job training in the area of child pom ogaphy and child

exploitation. I have participated in the execution ofnumerous search walrants involving child

porno$aphy and the seizure of computers and other storage media. I have interviewed many

individuals involved in child pomography and the sexual exploitation of child.ren.


        2.     I   make this affidavit in suppolt of a criminal complaint charging GABRIEL

MURILLO, with a violation of Title 18, United States Code, Section 2422@), relatedto the

online enticement of a minor.


        3'     All information      contained   in this affidavit is based upon my owrr   personal
knowledge, or has been related to me by other law enforcement agents.
                                                                      Since this affidavit is

being subniitted for the limited purpose of securing a criihinal complaint,
                                                                            I have not included
each and every fact known to me concerning this investigation.
                                                               I have set forth only the facts
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 that I believe are necessary to establish probable cause to believe that GABRIEL MURILLO

 did knowingly violate Title 18, united States Code, Section 2422b).


         4.       In April 2018, an undercover New York State Police (NYSP) Investigator (the

 UC), operating in the Westem District of New York, engagedin an undercover investigation

 in an attempt to identifr individuals using the Kik     Messenger application     to   engage in

criminal sexual activity with children. KikMessenger is a mobile application that allows users

to communicate via instant messaging, which communications are transmitted via Wi-Fi

internet access or tfuough a smartphone's data plan. Kik's servers are located in Canada.    Kik
operates using a means and facility of interstate and foreign commerce
                                                                          , thatis, the Internet,
 and opetates in and affecting interstate and foreign commerce. The UC posed on Kik as a

L2 yeat old female named      "Hannah." "Hanrlah's" Kik profile, which was visible to other
Kik   users, contained "Hannah's'l photograph, which depicts   an actual 17 yearold child. This
photograph has been approved          by law   enforcement     for use in online undercover
investigations.


        5.        On April 8, 2018, "Hannah" received messages on Kik from user name

"flako4737 ", which had the display name of "Daddy,,."   .   ,,[F]lako4737', (here
                                                                                   after referred

to as "the defendant") asked "Hannah", "How old are you,,. ,,Hannah,, responded that she

was a 12 year old female from New     York. The defendant    stated he was a 21-year-ol.d male

from California. "Hannah" advised the defendant, "Sorry but I'm lookin         4 abfclose   by,,.
The defendant responded,     "I would ftayel", and, "you,re sexy,,. ,,Hannah,, then stated to
the defendant, "Plus U probs don't like me    stz I'm way youn get than t,. The defendant
responded,"AgedoeSn'tmaltertome." Thedefendantsentapicrureofhimselfdepictin$an
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 appatent Hispanic male             with a shaved head and goatee. The defendant went on to say,

 "Damn you're really sexy. I can't stop looking at your pic. I would ffeat you like a queen',,

 and, "Like I said I will travel turst [sic] me. I would do anything to meet you and make you

 mine". When           discussing what the defendant would do with the chitd when they met, he

 stated "With that body u have              I    would lick every inch of       it".   "Hannah" stated to tlre
 defendant,     "     reals u   don't care I'm   L2???   Ltke sum guys yell at me on here cuzthey said I'm

 2 yottng". The defendant replied, "Age doesn't matter to me. Does it bother you,,. In

continuing to describe what he would like to do with the chitd when they met, the defendant

stated he would "Kiss [the child] all over touch all over. Grab you ass lick your ass. Touch

your pussy and lick         it".   The defendant provided his cell phone number, 909-634-XXXX, and

asked the child to text         him. Area code 909 is a Califomia telephone areacode that covers far

eastern Los Angeles County and southwestem San Bernardino County. The defendant then

continued to communicate with "Hannah" via the 909-634-XXXX phone number.


         6.         On or about April 10,20L8, the defendant asked "Hannah" what part of New

York   she    lived   in.   "Hannah" advised the defendant she lived in Avon, New york, which is

in Livingston County. The defendant advised "Hannah" that his name was ,,Gabiel,,                                and.

expressed how he wanted to kiss the               child. "Hannah" responded, "Like u sure u don,t               care

I'm   l2???   Like sum guys on kik got mad at me ctz they said I'm 2 young :/ .                 I   wderstand        if
u don't wanna". The defendant responded, "rdon't mind baby.                      u   don,t mind rigltt,              ,,r
                                                                                                          ,   and,

fuckin like u. You're fuckin hotbaby". "Hannah" responded, ,,Nope :) I,ll b 13 in a few

months any way". The defendant told "Hannah" that when they met in person, ,,I would

want to do     u".     "Hannah" responded, 4          reals??   Like U don,t care I,m a vtrgin??      :/,,.     The
defendant responded, "That doesn't matter baby."
                                                                 , and,,,r,llteach u,,.
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         7.         On or about April 12, 2018, the defendant requested a                photo graph    of
 "Hannah." In response, "Hannah" sent apre-approved undercover photograph depicting an

 apparcrfi young female          child. The defendant responded, "Damn baby you're fuckin sexy. I
 want   u".   The defendant then sent "Hannah" another photograph of himself in which the

 defendant is wearing a gray tank top with a tattoo visible on the defendant's neck.


         8.        On or about      April    13, 2018,the defendant stated to "Hannah," "Do you know

what    I mean     when    I tell u I want to eat you out".     "Hannah,, replied, ,,yea I,m 12 not a

freakin baby duh lmao". The defendant then stated, "Would you like me to do ttrat to you,,.

 "Hannah" replied, "f never done that b4. Is itfun??". The defendant stated, U will enjoy it.

It will make you feel good. It will get your pussy really wet,,. ,,Hannah,, asked, ,,It won,t

hurt right??". The defendant replied, "No baby. Eating u out means I want to lick your pussy.

It will make u feel good. I want your pussy to get wet baby,,.


        9.         on or about April ls,20LB, the defendant         stated to "Hannah,,, ,,Baby   I want
you so bad". "Hannah" replied, "Really??? Like u don't think I'm dum               cvz|m    12 and nevs

done   it :/",   arrd,   "l'm   afraid   I ain't gonna like me cuz|myounger than u,,. The defendant
replied, "Iwouldshow vbaby",and"rlikeitthatyou,reyoungerthanme baby',. The

defendant offered to send the child a new cell phone so the child could take pictures wittr            it
and send them to the defendant. The defendant stated,              "I want itbaby.I want to kiss you
suck on your tits play with your pussy until it gets nice and wet then         I'll lick your pussy juice
and then stick my dick in nbaby,,.


        10.       On or about       April 18,2018, the defendant   stated he was checking on flights to

fly to New York to        see the   child. The defendant asked, "How long do u want me to stay.        2
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 days r not enough". "Hannah" replied, "IJ can come as long as u want but like     I   gotta go 2

 school sum 1o1like all weekend I don't have to though". The defendant then said, "I want to

get your pussy so    wetbaby andthen stick my dick in u really slow and gentle". The defendant

then sent a website linked to adult pornography for the child to watch.


        11.       In response to an administrative subpoena, on April 18, 2018 Kik Interactive

Inc. provided subscriber information for the defendant's Kik account, indicating that the

account was registeredby an email account: "gm5122898@,watl.com"          .




       12.        On or about April 19, 2018, the defendant asked "Hannah" for her email

address so he could send her a video. "Hannah" provided the defendant with an undercover

email address used in child pornography and enticement investigations. The defendant then

sent "Hannah" an email from gm5L22898@,gmarl.com that contained a video of adult

pornography. The usemame displayed for the gnn5122898@gmail.com was "gabriel

murillo".


       13.     On or about April 23 , 20l8,law enforcement positively identified the defendant

as California resident "GABRIEL MURILLO" (date of birrtr XX/XX/1974), tttough a

Califomia state driver's license containing aphotograph which depicted the defendant. The

driver's license photograph depicts same male depicted in the photographs sent to ,,Hannah,,

from the "flako4737" Kik account. MURILLO'S driver's license lists a street address in

Ontario,    CA.   Based on the above information, law enforcement obtained MURILLO,S

criminal history and found that law enforcement has identified an alias of ,,Flaco,, in

connection with MURILLO'S past aaests.
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        14.    After July 15, 2018 MURILLO ceased to communicate with "Hanrrah", after

 which "Hannah" made not further attempts to engage with MURILLO. However, on or

 about December 21, 2018, MURILLO unexpectedly contacted "Hann ah" yia text message,

 at which point the conversations resumed. Between December 21,2018 and February 16,

 20L8, the conversations continued to be sexual in nature. For example, on Janvary 16, Z1Lg,

 MURILLO sent a message to "Hannah" stating, "I'11b in Rochester on the 17 of next month

 I'11be in the Red Roof hotel".


        15.    On January 20,20L9, MURILLO sent "Hann ah" ascreenshot displaying fhght

confirmation information through OneTravel and provided a website              link. The UC went to
the website link and found that        it   was a booking confirmation showing that GABRIEL

MURILLO hadaflightbooked          a   round trip flight from Los Angeles, Califomia to Rochester,

New York that departed on February 16, 2019 . The booking confirmation also indicated that

MURILLO booked a hotel room at the Microtel Inn by Wyndham from Febru ary L6, 2019

through February 23, 2079. The address of the hotel is listed as 905 Lehigh Station Road

Henrieffa, NY 14467.


        16.    On or aboutJantary 25,2019, MURILLO asked "Hannah" how far she lived

from Henrietta, NY, and stated "f never stopped thinking about you. I really love you,,.


       17.     On or about January 30,2019, MURILLO stated, "Baby so do u really want

to have sexs with   me". "Hannah" replied, "yeabut like u know I nevs done it so I             don,t
wanna feel stupid". MURILLO then stated, "IJ won'tbaby.I want to taste you
                                                                           already.                I
bet you taste really good. U want me to taste you baby',       ,,Hannah,,
                                                           .                replied, ,,Wdym,,, which
stands for 'what do you mean'.        MURILLO stated, "Eat u out,,. ,,Hannah,, replied, ,,Oh
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 lmao umflrm yea like I nevs done it b4bttwe can if u teach me", and, "Like u don,t care Im

 L3 righ{|??? I just    don't wanna feel stupid when u get here :/". MURILLO then replied,   ,,A11


 u have to do is lay down andlet me eat your pussy out", and, "No. Do       t   care thatl,m27,,.

 MURILLO went on to send two website links that directed the UC to adult pomography.


         18.         On or about February 6,2019, MURILLO discussed what he was going to do

when he saw the child. MURILLO stated, "I'm going to do u really good baby. I,m going

to eat your pussy out so good". MURILLO stated he had akeady book a hotel room atthe

"Microinn" in Henrietta. MURILLO stated, "When we walk in the hotel room we,re going

tostarttofuck". "Hanrrah" replied, "Likeurgonnashowmeright,,. MURILLOthenstated,

"You'll know what to do. Just watch the porn videos. You'llb ok. Don't b nervous. I,1l go

slow.   I'11 start   by eaitngyour pussy out,,.


         L9.         On or about February 8,20L9, a Federal Air Marshal confirmed with United

Airlines that MURILLO booked the February 16,2Ol9 flidhr from Los Angeles, Califomia

to Rochester, New York, with a retum flight on February 23,20L9.


         20.     On or about February 10,20L9, MURILLO stated, "6 more daysbaby. And

you'll b mine. Is that tight juiry pussy ready for Daddy', , and, ,,I,m going to be there in you

soon too baby.        U ready for me to be inside u". MLIRILLO went on to say, ,,I think of how
good it's going to be when we fuck and u get my dick hard.". MURILLO
                                                                     sent a picture of an

erect penis to "Hannah".


        2l'      Between February 10 and February     14,2)lg,MURILLO continued to engage
in   sexually explicit conversations     with "lFranflah". On February 11 MURILLo told
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"Hannah" "I'm going to fuck u so good       b   aby" and that "I'mso ready to eatthat pussy baby,,     ,


among other things. On February 72,2019, MURILLO instructed "Hatnah" to continue to

watch pomography and sent "Hannah" adult pomography links and said "is that pussy rcady

for me baby", among other things. On February L3, 2}lg, MURILLO said that when he

looks at "Hannah"'s picfure, his "dick', gets ,,hard.,,


       22.     On February 16, 2019, law enforcement staged at the Greater Rochester

Intemational Airport located        at   L200 Brooks Avenue Rochester, New            york    L4624.

MURILLO was observed exiting a plane from Los Angeles, and was taken into custody by

law enforcement officers on site.


       23.    The defendant, GABzuEL MUzuLLO, was born                n   Lg74 and   is 44years old.
New York State PenalLaw Section 130.65(4) states thataperson is guitty of Sexual Abuse in

the First Degree when he or she subjects another person to sexual contact when the other

person is less than thirteen (13) years old and the actor is twenty-one          years old or older.
                                                                           QI)
Sexual Abuse in the First Degree is a Class D Felony offense under the New York State penal

Law.
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                                       CONCLUSION


       WHEREFORE, based on the foregoing,          I   respectfully submit that there is probable

cause to believe that the defendant, GABRIEL      MURILLO, did knowingly violate Title        1g,

United States Code, Section 2422@) (Using a facrTity or means of interstate commerce to

knowingly persuade, induce, entice or coerce a minor to engage in a sexual activity; with the

belief that the individual has not attained the age of 18 years or affempted to do so).




                                            Special Agent
                                            Homeland Security Investigations
Swom to before me this

t1   day of   February,2}lg.



MARIAN W. PAYSON
United States Magistrate Judge
